Case 2:16-cr-20222-AJT-RSW ECF No. 418 filed 05/29/20        PageID.3170     Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                       CASE NO. 16-cr-20222
 v.                                            HON. ARTHUR J. TARNOW

 RONALD SEGARS,

              Defendant.

                           MOTION TO SEAL EXHIBITS

       The United States of America, by its undersigned attorneys, respectfully

 request that it exhibit containing medical records to its forthcoming response and

 reply to the Court’s Order directing responses to a request for compassionate release,

 be sealed until further order of the Court because it contains sensitive information.

       The government has conferred with counsel for the Defendant, and counsel

 has no objection to this request.

                                        Respectfully submitted,

                                        MATTHEW SCHNEIDER
                                        United States Attorney

                                        /s A. Brant Cook
                                        A. Brant Cook
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Case 2:16-cr-20222-AJT-RSW ECF No. 418 filed 05/29/20    PageID.3171   Page 2 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

             Plaintiff,                         CASE NO. 16-cr-20222
                                                HON. ARTHUR J. TARNOW
 v.

 RONALD SEGARS,

             Defendant.

                                            /

                   ORDER TO SEAL FILED DOCUMENTS

       Upon the government’s request,

       IT IS HEREBY ORDERED that any exhibits containing medical records to

 the government’s forthcoming response and reply to the Court’s Order to respond

 regarding compassionate release be filed under seal.

       IT IS SO ORDERED.

                                        s/Arthur J. Tarnow
                                        HON. ARTHUR J. TARNOW
                                        UNITED STATES DISTRICT JUDGE
 Dated: May 29, 2020
